Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 1 of 47 PageID #: 6693




                      EXHIBIT E
 Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 2 of 47 PageID #: 6694




                           UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

----------------------------------------------------------- x
- To: Thomas P. Cartmell
          Wagstaff &INC.,
IN RE ETHICON,            Cartmell
                                PELVICLLP REPAIR            :: CIVIL ACTION NO. 2:12-md-02327
          4740   Grand
SYSTEM PRODUCTS LIABILITYAvenue,   Suite  300                  MDL No. 2327
LITIGATIONKansas City, MO 64112                             :
          816-701-1102
-----------------------------------------------------------    Judge Joseph R. Goodwin
- This Document Applies To All Actions --------- : :
    ETHICON INC.’S SECOND SUPPLEMENTAL RESPONSE TO
---------------------------------------------------         X
            PLAINTIFFS’ FIRST SET OF INTERROGATORIES

        Defendant Ethicon, Inc. (“Ethicon”) submits the following second supplemental

objections and responses to Plaintiffs’ First Set of Interrogatories.

                       OBJECTION TO PLAINTIFFS’ DEFINITION
                   1020 Highland
       1.          Colony
              Plaintiffs   Parkway
                         define “Pelvic Mesh Products” to include Prolene mesh and Prolene
                   Suite 1400
Soft Mesh. Ethicon objects to each and every interrogatory related to Prolene mesh, Prolene Soft
                   Ridgeland, MS
Mesh, and any other39157
                    hernia601-948-
                            mesh. Ethicon objects to the production of any documents or
                   5711
information related to Prolene mesh, Prolene Soft Mesh, and any other hernia mesh other than as
                     Christy D. Jones,
                     Esq. Butler, Snow,
set out in the following: non-privileged,
                     O’Mara  Stevens & responsive documents from the following centrally-
                     Cannada, PLLC
stored files: Regulatory, Design History File, Trial Master Files, Quality Systems (including

Complaints, Complaint Reviews, Product Quality Investigations, Corrective Action Preventative
                    1020 Highland
                    Colony Parkway
Actions, and field actions),  to the extent they exist. Ethicon objects to the production of
                    Suite 1400
documents related to UltraPro Mesh other than certain non-privileged, responsive documents
                    Ridgeland, MS
                    39157
from the Trial Master  Files,601-948-
                               CAPA Reports, Non-Conformance Reports and complaint files from
                    5711
CHATS, as well as certain design history files and preclinical studies. Ethicon objects to the

production of any other documents and information related to hernia mesh products. As these

products are indicated for a hernia repair application, and given that they may potentially have

been used in a gynecological application in only a handful of cases in this litigation, the burden
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 3 of 47 PageID #: 6695




on Ethicon to respond to interrogatories related to these products unreasonably exceeds the

possibility that any significant information relevant to these matters will be obtained. Ethicon

further objects to Plaintiffs’ definitions to the extent that Plaintiffs list the TVT-Catheter Guide

and TVT-Introducer as “Pelvic Mesh” or “Pelvic Mesh Products.” However, based on the meet

and confers between Plaintiffs and Ethicon, Ethicon invites Plaintiffs to narrow the scope of their

requests concerning these hernia mesh application products.

                                        INTERROGATORIES

INTERROGATORY 1:

       If at any time you applied for, supplemented, or otherwise filed or responded to any

Pelvic Mesh Product 510(k), add-to-file, 522 order, or any other regulatory submission, was

there any information that was required by any regulation, law or rule to be provided to the FDA

or any Foreign Agency that You did not provide, for that piece of information, please

specifically set forth the following:

               (a)     The specific type of information not provided;

               (b)     The date the information should have been provided;

               (c)     The date the information was first reported to You;

               (d)     How You became aware of such information. (i.e., clinical trial, animal
                       study, literature search, add-to file, etc.);

               (e)     The name of anyone employed by You to whom the information was first
                       reported;

               (f)     Attach any and all documents relating to any of Your responses to this
                       interrogatory.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 1:

       Ethicon objects to Interrogatory No. 1 because, as worded, it is ambiguous, overly broad,

unduly burdensome and seeks information not reasonably calculated to lead to evidence




                                                  2
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 4 of 47 PageID #: 6696




admissible at trial. Ethicon objects on the grounds that this interrogatory is not limited to any

relevant time period, and seeks information that is irrelevant. Ethicon objects to this

interrogatory on the grounds that it is overly broad, unduly burdensome and oppressive insofar as

it seeks information relating to foreign regulatory submissions, although Ethicon is currently

working with Plaintiffs to narrow and prioritize the scope of foreign regulatory production. Such

information is neither relevant to the claims and defenses in this action nor reasonably calculated

to lead to the discovery of admissible evidence.

       Subject to and without waiving the foregoing Objections, Ethicon states that it has

complied with the relevant United States regulations with respect to its regulatory submissions to

FDA concerning its pelvic mesh products. Ethicon is continuing to meet and confer with

plaintiffs concerning information related to foreign regulatory submissions and information

related to hernia mesh devices.

INTERROGATORY 2:

       What warnings, information or notifications, if any, did you provide to health care

providers and patients concerning the use and Complications of Pelvic Mesh Products.

       Produce copies of any and all such warnings, information and notifications that relate to

any of your responses.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 2:

       Ethicon objects to Interrogatory No. 2 because, as worded, it is ambiguous, overly broad

and unduly burdensome. Ethicon objects on the grounds that this interrogatory is not limited to

any relevant time period, and seeks information that is irrelevant.

       Consistent with Federal Rule of Civil Procedure 33(d), and the Protective Order entered

by the Court, documents responsive to this interrogatory have been produced to Plaintiffs in the




                                                   3
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 5 of 47 PageID #: 6697




manner in which they were kept in the ordinary course of business. The electronic production is

in searchable format and, as such and consistent with the Federal Rules, Plaintiffs can locate the

particular electronic documents responsive to this interrogatory. Notwithstanding, set forth are

some examples of documents, though not all of the documents, which have been produced to

Plaintiffs that may be responsive to this interrogatory: See, e.g., Copy Review Materials,

ETH.MESH.00142081-00149087 (Prod. 3); ETH.MESH.00154266 to 00170122 (Prod. 4);

ETH.MESH.00311528 to 00311554 (Prod. 7); information regarding IFU documents,

ETH.MESH.00521869-ETH.MESH.00523158 (Prod. 13), ETH.MESH.02340250-

ETH.MESH.02342290 (Prod. 27); documents regarding copy review dates for sales, marketing

and professional education materials, ETH.MESH.02330766-ETH.MESH.02330777 and

ETH.MESH.PM.000065-ETH.MESH.PM.000067 (Prod. 25); Agile Labeling production,

ETH.MESH.02340250-ETH.MESH.02342290 (Prod. 27); ETH.MESH.02342291-

ETH.MESH.02345802 (Prod. 28); ETH.MESH.02346965-ETH.MESH.02347254 (Prod. 30);

ETH.MESH.03456774 - ETH.MESH.03461142 (Prod. 34); Prolift Surgical Technique Guide

(Plaintiffs’ Exhibit 126, New Jersey coordinated proceeding); and website information,

pelvichealthsolutions.com at ETH.MESH.PM000131 – ETH.MESH.PM.000131 (Prod. 69).

       For information contained within the Instructions for Use, Ethicon states as follows:

Product          Description                                     Dates of Use
Gynemesh PS      Gynemesh PS IFU. ETH.MESH.02342218-49           12/4/2008 to 2012
Gynemesh PS      Gynemesh PS IFU. ETH.MESH.02342250-77           12/12/2008 to 2012
Gynemesh PS      Gynemesh PS IFU. ETH.MESH.02342278-90           6/8/2005 to 12/11/2008
Gynemesh PS      Gynemesh PS IFU. ETH.MESH.02342194-217          3/20/2003 to 3/30/2006
Prolene Mesh     Prolene Mesh IFU. ETH.MESH.02342152-54          6/18/2010 to present day
Prolene Mesh     Prolene Mesh IFU. ETH.MESH.02342102             5/29/1999 to 7/3/2011
Prolene Soft     Prolene Soft IFU. ETH.MESH.02342101             12/5/2000 to present day
Prolene Soft     Prolene Soft IFU. ETH.MESH.02342094-96          8/23/2010 to present day
Prolene Soft     Prolene Soft IFU. ETH.MESH.02342097             4/13/2009 to 8/22/2010
Prolift          Prolift IFU. ETH.MESH.02341658-1733             5/11/2010 to 9/7/2012
Prolift          Prolift IFU. ETH.MESH.02341734-1809             10/1/2009 to 5/7/2010
Prolift          Prolift IFU. ETH.MESH.02341454-1521             12/17/2007 to 9/24/2009



                                                 4
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 6 of 47 PageID #: 6698



Product          Description                                      Dates of Use
Prolift          Prolift IFU. ETH.MESH.02341522-89                1/11/2005 to 12/13/2007
Prolift +M       Prolift + M IFU. ETH.MESH.02341954-2093          5/11/2010 to 9/7/2012
Prosima          Prosima IFU. ETH.MESH.02341398-1453              6/18/2010 to 9/6/2012
TVT              TVT IFU. ETH.MESH.02340402-70                    11/29/2010 to present day
TVT              TVT IFU. ETH.MESH.02340504-67                    10/13/2008 to 11/22/2010
TVT              TVT IFU. ETH.MESH.02340250-305                   4/7/2006 to 10/7/2008
TVT              TVT IFU. ETH.MESH.02340471-503                   2/11/2005 to 4/7/2006
TVT              TVT IFU. ETH.MESH.02340306-69                    12/22/2003 to 2/21/2005
TVT              TVT IFU. ETH.MESH.02340370-401                   1/16/2001 to (unavailable)
TVT Abbrevo      TVT-Abbrevo. ETH.MESH.02341203-67                9/10/2010 to present day
TVT Exact        TVT-Exact. ETH.MESH.02341119-202                 5/4/2010 to present day
TVT Obturator    TVT-O IFU. ETH.MESH.02340902-73                  5/12/2010 to present day
TVT Obturator    TVT-O IFU. ETH.MESH.02341047-1118                4/23/2008 to 5/7/2010
TVT Obturator    TVT-O IFU. ETH.MESH.02340974-1046                5/25/2005 to 4/29/2008
TVT Obturator    TVT-O IFU. ETH.MESH.02340756-828                 3/7/2005 to 5/19/2005
TVT Obturator    TVT-O IFU. ETH.MESH.02340829-901                 1/7/2004 to 3/4/2005
TVT Secur        TVT-S IFU. ETH.MESH.02340568-755                 12/16/2005 to 9/1/2012



       For TVT IFUs in use prior to 1/16/2001, Ethicon states that a third party, Medscand

Medical AB, not Ethicon, manufactured the device prior to that date and thus Ethicon did not

generate the IFUs during that time period. Ethicon will update this response if a copy of the

applicable IFU(s) is obtained..

       Regarding patient brochures for Prolift, Ethicon notes that despite diligent efforts, it has

not always been able to determine the precise “in-use” dates for all materials. However, Ethicon

has provided such information to the extent it is available, and will continue to do so as its

investigation to identify and locate this information on a document-by-document basis continues.

The earliest possible “first-use” date for any given copy review item would be the copy approval

date: The latest possible “last use” date for any given copy review item would be the expiration

date, subject to renewal. Ethicon has produced the protocols regarding expiry dates, which are

generally linked to document types, for periods relevant to the litigation.



       Regarding patient brochures for Prolift, Ethicon provides as follows:


                                                 5
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 7 of 47 PageID #: 6699




                                      PATIENT BROCHURES

Product           Title                                                       Date
Prolift           “Get the Facts, Be Informed” brochure copyrighted 2005.     11/09/2005
                  ETH.MESH.03905968-ETH.MESH.03905975
Prolift           “Get the Facts, Be Informed” brochure copyrighted 2006.     11/15/2006
                  ETH.MESH.03905976-ETH.MESH.03905991
Prolift           “What’s Happening Down There” brochure copyrighted 2007.    02/07/2007
                  ETH.MESH.03905992-ETH.MESH.03906000
Prolift           “Stop Coping, Start Living” brochure copyrighted 2008.      10/22/2008
                  ETH.MESH.03906037-ETH.MESH.03906052
Prolift           “Stop Coping, Start Living” brochure copyrighted 2009.      11/09/2009
                  ETH.MESH.03906001-ETH.MESH.03906020



Color copies of these patient brochures were provided in Production 44. Additionally, copies of

responsive patient brochures for pelvic mesh products have been produced in the Copy Review

productions. See also Ethicon’s Responses to Requests for Production Nos. 4, 15, 28, 29, 47, 50-

52, 61, 66, 78, 81 – 86, and 99. Ethicon is also providing Plaintiffs with additional information

related to the TVT family of products.

INTERROGATORY 3:

          If during or after the time you marketed, sold, distributed, or produced Pelvic Mesh

Products, You were aware of any complications or adverse events for which You did not provide

warnings, information or notifications to health care providers, consumers, or any governmental

agencies, please identify:

                 (a)      The complications or adverse events;

                 (b)      If the complication or adverse event was attributed to the Pelvic Mesh
                          Product, the surgeon, both, or some other conclusion.

                 (c)      When the complication or adverse event was first reported to You;

                 (d)      How You became aware of complication, (ie clinical trial, study, literature
                          search, etc.)

                 (e)      The name of anyone employed by You to whom it was first reported, and
                          the name of the Person who reported it to You;




                                                   6
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 8 of 47 PageID #: 6700




               (f)     The identity of those individual(s) who made the decision whether or not
                       to inform Health Care Providers, consumers, or governmental agencies of
                       these complications or adverse events.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 3:

       Ethicon objects to Interrogatory No. 3 because, as worded, it is ambiguous, overly broad

and unduly burdensome. Ethicon objects on the grounds that this interrogatory is not limited to

any relevant time period, and seeks information that is irrelevant.

       Subject to and without waiving the foregoing Objections, Ethicon states it has complied

with the relevant United States regulations regarding the reporting of adverse events and that it

has complied with the relevant U.S. regulations concerning providing adequate and accurate

warnings and information to health care providers, consumers, and governmental agencies.

Consistent with the Federal Rules, and the Protective Order entered by the Court, documents that

may be responsive to this interrogatory to the extent they exist have been produced to Plaintiffs

in the manner in which they were kept in the ordinary course of business. Pursuant to Fed. R.

Civ. P. 33(d), the electronic production is in searchable format and, as such and consistent with

the Federal Rules, Plaintiffs can locate the particular electronic documents responsive to this

interrogatory. Notwithstanding, set forth are some examples of documents, though not all of the

documents, which have been produced to Plaintiffs that may fall within this interrogatory. See,

e.g., documents referenced in Ethicon’s Response to Interrogatory 2; Ethicon’s Response to

Plaintiffs’ Requests for Production of Documents Nos. 28, 35.

       Further, information responsive to this interrogatory may also be found in the custodial

productions from and deposition transcripts of the witnesses deposed in the New Jersey

coordinated proceeding, including but not limited to the following persons: Dr. Piet Hinoul, Dr.

David Robinson, Dr. Aaron Kirkemo, Dr. Martin Weisberg, Dr. Charlotte Owens, Dr. Jessica

Shen, Dr. Judi Gauld, Catherine Beath, Bryan Lisa, Jennifer Paine, Sean O’Bryan, Dan Lamont,


                                                 7
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 9 of 47 PageID #: 6701




Dr. Meng Chen, and Mark Yale. Ethicon is continuing to meet and confer with plaintiffs

concerning information related to foreign regulatory submissions and information related to

hernia mesh devices.

INTERROGATORY 4:

       If You have received any Communications (other than lawsuits filed in any jurisdiction

or attorney claim letters) concerning the safety or complications from the use of Pelvic Mesh

Products please identify:

               (a)     the individual(s) and/or company(ies) or institution(s) who communicated
                       with you, and if not in a written or reproductive format, describe the
                       nature of such communication in detail.

               (b)     Produce any communications responsive to this interrogatory.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 4:

       Ethicon objects to Interrogatory No. 4 because, as worded, it is ambiguous, overly broad,

unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Ethicon objects on the grounds that this interrogatory is not limited to any

relevant time period, and seeks information that is irrelevant.

       Subject to and without waiving the foregoing Objections, and consistent with the Federal

Rules, and the Protective Order entered by the Court, documents that may be responsive to this

interrogatory to the extent they exist have been produced to Plaintiffs in the manner in which

they were kept in the ordinary course of business. This includes the adverse event database for

all relevant worldwide adverse events that The electronic production is in searchable format and,

as such and consistent with the Federal Rules, Plaintiffs can locate the particular electronic

documents responsive to this interrogatory. Notwithstanding, set forth are some examples of

documents, though not all of the documents, which have been produced to Plaintiffs that may fall

within this interrogatory. See supra Responses to Interrogatories 2 and 3; see also Custodial


                                                 8
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 10 of 47 PageID #: 6702




Productions and deposition testimony of Paul Parisi, Vincenza Zaddem, Jonathan Meek, Scott

Jones; see also Prods. 61 and 64. Ethicon continues to meet and confer with plaintiffs

concerning information related to foreign regulatory submissions and information related to

hernia mesh devices.

INTERROGATORY 5:

        Please identify by name and date the Persons who authored and/or received any

correspondence (other than lawsuits filed in any jurisdiction or attorney claim letters) concerning

whether the Pelvic Mesh Products’ Instructions for Use, (IFU’s) patient brochures, or related

information should be modified about the complications, risks and benefits, or indications

concerning the Pelvic Mesh Products. Please produce copies of any communications responsive

to this interrogatory.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 5:

        Ethicon objects to Interrogatory No. 5 because, as worded, it is ambiguous, overly broad,

unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Ethicon objects to the extent Plaintiffs do not define “related information.”

Ethicon further objects to this Interrogatory to the extent it seeks the disclosure of information

that is protected by the attorney-client privilege and/or work product immunity. Ethicon further

objects to this Interrogatory to the extent it seeks information that is confidential, proprietary

business information and/or trade secrets. Ethicon objects on the grounds that this interrogatory

is not limited to any relevant time period.

        Subject to and without waiving the foregoing Objections, and consistent with the Federal

Rules, and the Protective Order entered by the Court, documents that may be responsive to this

interrogatory to the extent they exist have been produced to Plaintiffs in the manner in which




                                                  9
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 11 of 47 PageID #: 6703




they were kept in the ordinary course of business. The electronic production is in searchable

format and, as such and consistent with the Federal Rules, Plaintiffs can locate the particular

electronic documents responsive to this interrogatory. Notwithstanding, set forth are some

examples of documents, though not all of the documents, which have been produced to Plaintiffs

that may fall within this interrogatory. See, e.g., Copy Review Materials, ETH.MESH.00142081

-00149087 (Prod. 3); ETH.MESH.00154266-00170122 (Prod. 4); ETH.MESH.00311528-

00311554 (Prod. 7); information regarding IFU documents, ETH.MESH.00521869-

ETH.MESH.00523158 (Prod. 13), ETH.MESH.02340250 -ETH.MESH.02342290 (Prod. 27);

documents regarding sales, marketing and professional education materials,

ETH.MESH.02330766-ETH.MESH.02330777 and ETH.MESH.PM.000065-

ETH.MESH.PM.000067 (Prod. 25); ETH.MESH.02342291-ETH.MESH.02345802 (Prod. 28);

ETH.MESH.02346965-ETH.MESH.02347254 (Prod. 30); ETH.MESH.03456774 -

ETH.MESH.03461142 (Prod. 34).

       In addition, Plaintiffs in the New Jersey coordinated litigation, including Plaintiffs

represented by MDL counsel, have deposed a number of witnesses whose testimony may be

responsive to this interrogatory. Specifically:

           •   Dr. Piet Hinoul was deposed for 4 days under N.J. Rule 4:14-2(c).

           •   Catherine Beath has been deposed for 2 days under N.J. Rule 4:14-2(c).

       In addition, numerous fact witnesses have been deposed regarding pelvic mesh IFUs,

patient brochures, and professional education. In the area of Medical Affairs, these include Dr.

Aaron Kirkemo, Dr. David Robinson, Dr. Charlotte Owens, and Dr. Martin Weisberg. In the

area of Regulatory Affairs, these include Bryan Lisa, Sean O’Bryan, and Jennifer Paine. In the




                                                  10
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 12 of 47 PageID #: 6704




area of Marketing, these include Scott Jones, Giselle Bonet, Lynn Hall, Kevin Mahar, Jonathan

Meek, Paul Parisi, and Zenobia Walji.

       To the extent they exist, Ethicon produced responsive custodial documents for each of

these witnesses that may also have additional information responsive to Plaintiffs’ Interrogatory.

Ethicon is continuing to meet and confer with plaintiffs concerning information related to foreign

regulatory submissions and information related to hernia mesh devices.

INTERROGATORY 6:

       Provide the name and title of the Person employed by You who was primarily responsible

for testing the safety, efficacy, sterility, and manufacturing standards of Pelvic Mesh Products for

each year from 1999 to 2012.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 6:

       Ethicon objects to Interrogatory No. 6 because, as worded, it is ambiguous, overly broad,

and unduly burdensome. Ethicon objects to this request as vague insofar as it fails to define

“primarily responsible.” Further, a person “primarily responsible” (however defined) for an area

or topic does not necessarily equate to the person with the most relevant knowledge. Ethicon

further objects because “safety” is undefined. Many different departments, groups, and cross-

functional teams have at least some impact on and/or share some responsibility for the safety and

efficacy of pelvic mesh products. For example, these include, but are not limited to, Medical

Affairs, Pre-Clinical, Clinical Studies, Research & Development, Manufacturing, Quality,

Pharmacovigilance, compliance, and professional education. Listing the persons “primarily

responsible” for “testing” the “safety” and “efficacy” of 11 different pelvic mesh products for 13

years is unduly burdensome and, as phrased, is essentially unanswerable.




                                                11
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 13 of 47 PageID #: 6705




       Additionally, the interrogatory is objectionably vague in that it does not define what is

meant by “sterility” or “manufacturing standards.” Sterility is impacted in both the design

aspects of a product as well as in manufacturing process aspects. Further, while there are

similarities, each product has a different design history and a unique validated manufacturing

process. Documents produced to date have included design and manufacturing validation

protocols. Listing the persons “primarily responsible” for “testing” the “sterility” and

“manufacturing standards” of 11 different pelvic mesh products for 13 years is likewise unduly

burdensome and, as phrased, is essentially unanswerable.

       Subject to and without waiving the foregoing Objections, counsel in the New Jersey

coordinated proceeding have deposed 43 witnesses – with MDL counsel actively conducting or

otherwise participating in many of those – eliciting information directly responsive to the

information sought in this interrogatory. Ethicon refers Plaintiffs to those depositions. Further,

consistent with the Federal Rule of Civil Procedure 33(d), and the Protective Order entered by

the Court, documents that may be responsive to this interrogatory to the extent they exist have

been produced to Plaintiffs in the manner in which they were kept in the ordinary course of

business. The electronic production is in searchable format and, as such and consistent with the

Federal Rules, Plaintiffs can locate the particular electronic documents responsive to this

interrogatory.

       Subject to the objections, one group that shares primary responsibility for the safety and

efficacy of pelvic mesh products is Medical Affairs. Relevant persons within Medical Affairs at

different times include:




                                                12
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 14 of 47 PageID #: 6706




           •   Dr. Axel Arnaud: Scientific Director, Ethicon Europe (1999-2001); Scientific

               Director, Ethicon Europe (2001-2008); Director, Medical Affairs, Ethicon EMEA

               (2008 – present)

           •   Dr. Richard Isenberg: Director Medical Affairs, Ethicon EWHU (1999 – 2002)

           •   Dr. Martin Weisberg: Director of Medical Affairs, Ethicon (2001 – present)

           •   Dr. Charlotte Owens: Worldwide Medical Director, Gynecare (2003-2005)

           •   Dr. David Robinson: Medical Director Worldwide, EWHU (2005 – 2010)

           •   Dr. Aaron Kirkemo: Associate Medical Director, EWHU (2008-2010); Medical

               Director, EWHU (2010 – 2012)

           •   Dr. Piet Hinoul: Director Medical Affairs – Worldwide, Ethicon (2010-present)

       Subject to the objections and in response to the request concerning the testing of sterility

and manufacturing standards, the TVT line of products, Gynemesh PS, Prolift, Prolift +M, and

Prosima undergo an ethylene oxide manufacturing process pursuant to protocols established by

Ethicon that occurs during the final stages of the manufacturing lifecycle. Further, the TVT line

of products, Gynemesh PS, Prolift, Prolift +M, and Prosima each undergo unique manufacturing

lifecycles. Persons in the United States with relevant knowledge of the processes and protocols,

include:

           •   James McGowan: Engineering Fellow – Sterilization (2012); Base Business,

               Sterilization Manager (2006 – 2012).

           •   Michael Wolfe:      Plant Quality Assurance Manager, Ethicon (2007 – 2009);

               Director Quality Operations, Raw Materials Supply & External Ops, Ethicon

               (2009 – present).

INTERROGATORY 7:



                                                13
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 15 of 47 PageID #: 6707




       If You or any Person employed by You or on your behalf is currently performing any

Testing or Studies on Pelvic Mesh Products and its potential association or causal relationship

with Complications, please set forth specifically for each test or Study:

               (a)     The start date of the study or test

               (b)     The anticipated end-date of the study or test

               (c)     The anticipated publication date of the study or test

               (d)     The anticipated dates for the disclosure to the FDA or others of any
                       preliminary data or results from the study (please specifically identify
                       those persons or agencies to whom disclosure will be made);

               (e)     The identity of the source of any funding for the study, in whole or in part,
                       if the study is not wholly funded by You;

               (f)     All endpoints of those studies;

               (g)     documents concerning the studies you identified above;

               (h)     The basis for the decision to perform such studies;

               (i)     The identity of the persons employed by You who determined that such
                       studies would be performed.

               (j)     Attach any and all documents relating to any of Your responses to this
                       interrogatory.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 7:

       Ethicon objects to Interrogatory No. 7 because, as worded, it is ambiguous, overly broad,

and unduly burdensome.

       Subject to and without waiving the foregoing Objections, and consistent with Federal

Rule of Civil Procedure 33(d), and the Protective Order entered by the Court, documents that

may be responsive to this interrogatory to the extent they exist have been produced to Plaintiffs

in the manner in which they were kept in the ordinary course of business. The electronic

production is in searchable format and, as such and consistent with the Federal Rules, Plaintiffs

can locate the particular electronic documents responsive to this interrogatory. Notwithstanding,


                                                 14
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 16 of 47 PageID #: 6708




set forth are some examples of documents, though not all of the documents, which have been

produced to Plaintiffs that may include information responsive to this interrogatory. See, e.g.,

relevant portions of productions 12, 33, 36, 39, 43, 54, 63 related to the trial master files;

ETH.MESH.04476324 – 04529711 (Prod. 62); deposition testimony and custodial files of Dr.

Jessica Shen and Dr. Judi Gauld. Additionally, see below:

   1. Investigator: Dr. Withagen; A Prospective and Comparative Study of the Performance of
      Tension Free Vaginal Mesh + Monocryl (Prolift + M™) versus Conventional Vaginal
      Prolapse Surgery (The Netherlands)
         a. Start date: Q1 2011
         b. Anticipated end date: Q4 2014
         c. Anticipated publication date: 12-month data – Q2 2014; 24-month data – Q2
              2015
         d. Anticipated date of FDA disclosure: N/A
         e. Non-Ethicon sources of funding: academic budget, reserve research funds
         f. Primary endpoint: Percentage of patients with objective anatomical success (POP
              stage <2) after 24 months
         g. Secondary Endpoint: Subjective improvement in quality of life will be measured
              by generic (EQ-5D,PGI-I) and disease-specific (UDI, DDI, IIQ and PFDI20)
              quality of life instrument. Sexual functioning will be measured by generic (FSFI)
              and disease specific (PISQ12) questionnaires. Complications will be monitored
              with special notice for pain (Mc Gill pain questionnaire). Recovery will be
              measured with the Recovery index 10. The economical endpoint is short term (2
              year) incremental cost-effectiveness in terms of costs per additional year free of
              prolapse and costs per QALY gained.

   2. Investigator: Dr. Hulder: ProViS (Prolift + M and Sexual Function) (Switzerland)
         a. Start date: Q2 2011
         b. Anticipated end date: Q4 2013
         c. Anticipated publication date: Q2 2014
         d. Anticipated date of FDA disclosure: N/A
         e. Non-Ethicon sources of funding: none
         f. Primary endpoint: Primary Endpoint: No worsening in vita sexualis (decrease in
              total score Female Sexual Function Index (FSFI-d) of ≤ 3.3; max. score = 36)
              measured at 12 months postoperatively compared to the preoperative score.
         g. Secondary Endpoints: No worsening in pain during sexual intercourse (decrease
              in weighted pain subscore FSFI-d of ≤ 1; max score = 6) measured at 12 months
              postoperatively compared to preoperative. Assessment of pelvic floor function
              using the validated German pelvic floor questionnaire (Deutscher Beckenboden-
              Fragebogen, validated German version of the Australian pelvic floor
              questionnaire) at 12 months postoperatively compared to preoperative.
              Assessment of patient’s satisfaction at 12 months postoperatively using the visual



                                                  15
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 17 of 47 PageID #: 6709




              analogue scale (VAS), question regarding reoperation and patient global
              impression (PGI) question. Clinical Examination at 3 and 12 months
              postoperatively assessing mesh erosion and recurrent POP by speculum
              examination, palpation and assessment of POP-Q. Safety.

   3. Investigator: Dr. Deprest: An institutional audit of the short term complications &
      medium term outcomes of patients undergoing laparoscopic sacrocolpopexy (LSC) for
      vault prolapse using polypropylene mesh of different weight. (Belgium)
         a. Start date: Q2 2012
         b. Anticipated end date: Q1 2013
         c. Anticipated publication date: Q2 2013
         d. Anticipated date of FDA disclosure: N/A
         e. Non-Ethicon sources of funding: Unknown
         f. Primary Endpoints:        1. the occurrence of operative complications: will be
              classified as either intra-operative or postoperative (within 3 months of
              operation), and as either major (re-admission or re-operation within 6 weeks,
              thromboembolism, spondylodiscitis) or minor (infectious signs, haemorrhage
              requiring transfusion without reintervention, urinary retention etc.). 2.
              Reintervention for prolapse in the same compartment, and this at any time point
              during follow up. The time point of reintervention will be a variable per se.
         g. Secondary Endpoints: Objective Success will be defined as: Achievement of a
              POP-Q score of ICS Stage ≤1, without re-intervention for POP or graft related
              complication at approximately 12 months. Postoperative graft related
              complications (GRC) will be (non-limitative list) de novo dyspareunia, resolution
              or continuance of pre-existing dyspareunia, incidence of chronic pain, occurrence
              of exposure, extrusion or any other complication as described recently, and any
              reintervention because of the above. Subjective Success assessed by the Patient
              Global Impression of Change (PGI-C) tool, which is a 5-point Likert scale, where
              the patients are asked the following question at the follow up visit: “Compared
              with how you were doing before your recent pelvic floor operation, would you
              say that now you are: “much better”, “a little better”, “about the same”, “a little
              worse” or “much worse”?”. P-QoL: assesses the severity of symptoms in patients
              with urogenital prolapse and their impact on 9 different quality of life domains
              with scores for each domain, ranging between 0 and 100.

   4. Investigator: Dr. Philips: Prospective Evaluation of TVT Exact under Local Anaesthesia
      with / without Sedation: Patient Tolerability and Long-Term Efficacy (United Kingdom)
         a. Start date (awaiting ethical approval)
         b. Anticipated end date: Q3 2014
         c. Anticipated publication date: Q3 2015
         d. Anticipated date of FDA disclosure: N/A
         e. Non-Ethicon sources of funding: None
         f. Primary Endpoints: Patient Tolerability of procedure under local anaesthesia
              measured by patient pain score, measured by visual analogue scale during
              procedure and 3 hours post operative and patient acceptability scores: visual
              analogue scale and numerical scales.



                                              16
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 18 of 47 PageID #: 6710




          g. Secondary Endpoints: analgesic requirements; sedation requirements;
             perioperative complications including: blood loss, bladder perforation, vascular
             injury, voiding disorder; patient time to discharge (length of stay); time to return
             to normal activities (recorded at 6 weeks f/up appointment); PGI-I score at 6
             weeks post op. (12 and 24 month data also possible if funding available); ICIQ
             UI change in score preop to post op score (preop, 6 weeks (routine f/up). (12 and
             24 month data also possible if funding available); ICIQ-OAB score at 6 weeks.
             (12 and 24 month data also possible if funding available); ICIQ-VAS score at 6
             weeks. (12 and 24 month data also possible if funding available); Free text on
             surgeon’s experience of new delivery system.

   5. Investigator: Dr. Khandwala: TVT-Secur as an Office-Based Procedure (United States)
         a. Start date: Q4 2008
         b. End date: Q2 2012
         c. Anticipated publication date: Q4 2012
         d. Anticipated date of FDA disclosure: N/A
         e. Non-Ethicon sources of funding: None
         f. Primary endpoint: to assess feasibility and success of performing the TVT-Secur
              procedure in the office setting. Success will be defined as  50% improvement on
              the subjective symptom VAS in the 3-month visit.
         g. Secondary endpoint: will include the assessment of intra-operative and post-
              operative complications, post-operative pain assessment, and type of anesthesia,
              operative time, quality of life measurements and subject satisfaction.

   6. Investigator: Dr. Corcos: Efficacy of a Combined Surgical and Pharmacological
      Therapy to Treat Mixed Urinary Incontinence (Canada)
         a. Start date: Q4 2007
         b. End date: Q4 2012
         c. Anticipated publication date: Q4 2013
         d. Anticipated date of FDA disclosure: N/A
         e. Non-Ethicon sources of funding: None
         f. Primary endpoint: Patient perceived cure or improvement: 1. cure being defined
              as an improvement of at least 90% of both scores of the IIQ7 and ICIQ-SF; 2.
              improvement being defined as improvement of at least 50% of the scores of both
              questionnaires IIQ7 and ICIQ+_Toc177533873-SF.
         g. Secondary Endpoints: 1. decrease in leakage (24-hour pad test); 2. decrease in
              number of episodes of incontinence, number of voids in 72 hours (voiding
              diaries); 3. Cough test; 4. patient’s satisfaction evaluated with Likert Scale - 5
              (worse than before) to +5 (no micturition problem); 5. treatment related
              complications and adverse effects. Sample size of 80 was no met; analysis being
              carried out on sample of 60 patients.

   7. Investigator: Dr. Walters: Dynamic ultrasound evaluation of midurethral sling position
      and correlation to physical exam and symptoms (United States)
         a. Start date: Q3 2012
         b. Anticipated end date: Q4 2013



                                              17
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 19 of 47 PageID #: 6711




          c. Anticipated publication date: Q1 2014
          d. Anticipated date of FDA disclosure: N/A
          e. Non-Ethicon sources of funding: Institution
          f. Primary End Points: Primary outcomes: Palpability of the tape on vaginal exam;
             ultrasound measurements of the sling position angle.
                  i. Palpability will be evaluated by a pelvic surgeon who will be blinded to
                     the sling type, ultrasound findings and questionnaire answers.
                 ii. Ultrasound measurements will be done by a trained investigator utilizing
                     3- and 4-D ultrasound technology.
          g. Secondary End Points:
                  i. Association between the tape position, palpability of the tape on vaginal
                     examination and incontinence cure-rare after TVT, TOT or TVT-O
                     procedures.
                         1. Incontinence cure-rate, or sling effectiveness, will be determined
                             based on the UDI-6 and ISI validated questionnaires. In addition
                             PGI-I will be used to assess global well being.
                 ii. Association between the tape position, palpability of the tape on vaginal
                     examination and de-novo voiding dysfunction symptoms after TVT, TOT
                     or TVT-O procedures.
                iii. Association between the tape position, palpability of the tape on vaginal
                     examination and sexual function after TVT, TOT or TVT-O procedures.
                         1. Sexual function will be assessed using FSFI validated
                             questionnaire as well as additional specific questions assessing the
                             sensation from the tape, dyspareunia, groin, suprapubic and
                             general pelvic pain (see Appendix)
                iv. Association between the tape position, palpability of the tape on vaginal
                     examination with partner’s discomfort during the intercourse.
                         1. Partner’s discomfort will be assessed using a specific questionnaire
                             (filled out by the study subject) aimed at assessing the sensation
                             from the tape during intercourse, presence of associated pain, and
                             effect on intercourse frequency and satisfaction.

   8. Investigator: Dr. Ross: TVT management of stress incontinence in women: randomised
      trial of TVT Secur versus TVT (Canada)
           a. Start date: Q4 2007
           b. End date: Q4 2011
           c. Anticipated publication date: Q4 2012
           d. Anticipated date of FDA disclosure: N/A
           e. Non-Ethicon sources of funding: None
           f. Primary Endpoint: objective evidence of SUI will be obtained using a standard
               pad test undertaken at 12 months following surgery. Women will be considered
               cured if the pad weight gain is less than 1g over the test period.
           g. Secondary Endpoints: subjective symptom assessment will take place at 12
               months after surgery. Subjective cure is defined as either “no” experience of
               stress incontinence, or if urine loss has been “no problem at all”. Incontinence
               QOL will be assessed by UDI-6 at 6 weeks and 12 months. Sexual function will



                                              18
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 20 of 47 PageID #: 6712




               be assessed by PISQ-12 at 12 months. Expectations will be assessed at 12 months
               where subjects are asked if their surgical expectations were met. Return to normal
               activities will be assessed at 12 months. Voiding dysfunction will be assessed at
               12 months using uroflow and postvoid residual evaluation at the end of the pad
               test. surgical complications will be captured for 12 months following surgery.

       Members of the EWHU Investigator-Initiated Study Committee are responsible for

reviewing and approving investigator-initiated study applications.

INTERROGATORY 8:

       Identify each advertising firm, public relations firm, marketing firm or medical

communications company you engaged to draft studies, market and/or advertise Pelvic Mesh

Products, including the identity of the manager of your accounts.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 8:

       Ethicon objects to Interrogatory No. 8 because, as worded, it is ambiguous, overly broad,

unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Further, Ethicon objects on the grounds that this interrogatory is not limited

to the relevant time period, and seeks information that is irrelevant.

       Subject to and without waiving the foregoing Objections, and consistent with Federal

Rule of Civil Procedure 33(d), and the Protective Order entered by the Court, documents that

may be responsive to this interrogatory to the extent they exist have been produced to Plaintiffs

in the manner in which they were kept in the ordinary course of business. The electronic

production is in searchable format and, as such and consistent with the Federal Rules, Plaintiffs

can locate the particular electronic documents responsive to this interrogatory. Notwithstanding,

set forth is an example of information and documents, though not all of it, which have been

produced to Plaintiffs that may include information responsive to this interrogatory. See, e.g.,




                                                 19
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 21 of 47 PageID #: 6713




Deposition Tr. of Lynn Hall, March 1, 2012. (Tr. p. 168-171.); see also custodial productions for

Giselle Bonet, Lynn Hall, Scott Jones, Kevin Mahar, Jonathan Meek, and Zenobia Walji.

INTERROGATORY 9:

       Give the name, official capacity or position of those Persons employed or formerly

employed by You who were responsible for communicating with the FDA and equivalent

foreign Agencies Concerning Pelvic Mesh Products.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 9:

       Ethicon objects to Interrogatory No. 9 because, as worded, it is ambiguous, overly broad

and unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Ethicon objects because the interrogatory is not limited in time or scope.

Ethicon further objects to this interrogatory on the grounds that it is overly broad, unduly

burdensome and oppressive insofar as it seeks information relating to foreign regulatory

activities. Ethicon is continuing to meet and confer with Plaintiffs concerning foreign regulatory

submissions. Such information is neither relevant to the claims and defenses in this action nor

reasonably calculated to lead to the discovery of admissible evidence.

       Ethicon objects to this request as vague insofar as it fails to define the phrase,

“responsible for communicating with the FDA.” Communicating with FDA is a task performed

by cross-functional teams, with multiple members performing different roles. Subject to and

without waiving the foregoing Objections, and consistent with the Federal Rules, and the

Protective Order entered by the Court, documents that may be responsive to this interrogatory to

the extent they exist have been produced to Plaintiffs in the manner in which they were kept in

the ordinary course of business. The electronic production is in searchable format and, as such

and consistent with the Federal Rules, Plaintiffs can locate the particular electronic documents




                                                 20
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 22 of 47 PageID #: 6714




responsive to this interrogatory. See Ethicon’s Response to Plaintiffs’ Request for Production

No. 15.

          Subject to the objections, the following non-exhaustive list of Persons had some

responsibility for communicating with FDA at different times for different pelvic mesh products:

             •   Sheryl Robinson Bagalio: Manager, Regulatory Affairs (2008); Project Manager,

                 Regulatory Affairs (2007).

             •   Catherine Beath: VP Regulatory Affairs, Global Surgery Group (2012-present);

                 Worldwide VP, Quality Assurance and Regulatory Affairs, Ethicon, Inc. (2001-

                 2012).

             •   Christiana Bielinski: Director, Quality Systems & Compliance (2008 – 2012).

             •   Elizabeth K. Blackwood: Worldwide VP, Quality Assurance (2003).

             •   Cindy Crosby: Director, Regulatory Affairs (2004); Director, WW Regulatory

                 Affairs (2004 – 2005); Director, Quality Systems & Compliance (2005 – 2008).

             •   Dr. Sergio Gadaleta: VP Worldwide Regulatory Affairs and Product Vigilance;

                 (2008 - 2010 ); Director, Regulatory Affairs, Ethicon Products/ Gynecare (2004 –

                 2007).

             •   Patricia M. Hojnoski: Senior Project Manager, Regulatory Affairs, Gynecare

                 (2002-2006).

             •   Gregory R. Jones:        Director, Regulatory Affairs (1997-2003); Director,

                 Regulatory Affairs/ Quality Assurance, Gynecare (2001 – 2003).

             •   Brian Kanerviko: Director, WW Regulatory Affairs, EWHU (2011 – 2012).

             •   Dan Lamont: Director, Post-Market Surveillance, Ethicon, Inc. (2010 – present);

                 Manager, Worldwide Quality Engineering, Ethicon, Inc. (2008-2010).



                                                 21
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 23 of 47 PageID #: 6715




           •   Susan Lin:      Manager, Regulatory Affairs (2008 – present); Senior Project

               Manager, Regulatory Affairs (2004 – 2008) .

           •   Bryan Lisa: Associate Director, Regulatory Affairs (2009-2010).

           •   Iris Magalhaes: Director, Quality Assurance, WW Quality Engineering, Ethicon.

           •   Sean O’Bryan: Senior Project Manager, Regulatory Affairs (2001-2005).

           •   Jennifer Paine: Worldwide Director, Regulatory Affairs (2007-2008); Manager,

               Regulatory Affairs (2005-2007); Senior Project Manager, Regulatory Affairs

               (2004-2005).

           •   John D. Paulson: Vice President, Regulatory Affairs/ Quality Assurance (1997 –

               2001).

           •   Mark Yale: Group Director, Franchise Quality Engineering, Quality Systems and

               Post Market Surveillance (2009-2010); Director, Worldwide Risk Management

               and Quality Engineering (2005-2009).

INTERROGATORY 10:

       Please state the name, address, phone number, official capacity and/or position, and a

brief description of their job responsibilities, of those persons employed or formerly employed

by you who were responsible for or in charge of the following departments, between 1999 and

the present:

               (a)      Regulatory affairs/compliance

               (b)      Toxicity and pigment testing;

               (c)      Engineering

               (d)      Strength/Tensile strength testing

               (e)      Machining;

               (f)      Porosity (space between mesh pores) testing


                                                 22
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 24 of 47 PageID #: 6716




                (g)     Epidemiology and outcome studies;

                (h)     Marketing;

                (i)     Manufacturing;

                (j)     Sales;

                (k)     Safety and efficacy; and

                (l)     Supply Chain Management;

SUPPLEMENTAL RESPONSE TO INTERROGATORY 10:

        Ethicon objects to Interrogatory No. 10 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial.   Ethicon objects to this request as vague insofar as it fails to define

“responsible for or in charge of.” Responsibilities in the different departments are tasks

performed by cross-functional teams, with multiple members performing different roles.

Further, a person “responsible for or in charge of” (however defined) for an area or topic does

not necessarily equate to the person with the most relevant knowledge. Furthermore, several of

the departments listed in the interrogatory do not exist as named. For example, as phrased in the

interrogatory, there is no Toxicity and Pigment Testing Department, no Strength/ Tensile

Strength Testing Department, no Machining Department, no Porosity (Space Between Mesh

Pores) Testing Department, no Epidemiology and Outcomes Studies Department, and no Safety

and Efficacy Department.

        Subject to and without waiving the foregoing Objections, and consistent with Federal

Rule of Civil Procedure 33(d), and the Protective Order entered by the Court, documents that

may be responsive to this interrogatory to the extent they exist have been produced to Plaintiffs

in the manner in which they were kept in the ordinary course of business. The electronic




                                                   23
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 25 of 47 PageID #: 6717




production is in searchable format and, as such and consistent with the Federal Rules, Plaintiffs

can locate the particular electronic documents responsive to this interrogatory.

       Subject to and without waiving the foregoing Objections, Ethicon states that the

following, non-exhaustive list of Persons share responsibilities within different departments at

different times for different pelvic mesh products related to the topics set out in the sub-

paragraphs:

       (a) Regulatory affairs/compliance:

               a. Catherine Beath: VP Regulatory Affairs, Global Surgery Group (2012-
                  present); Worldwide VP, Quality Assurance and Regulatory Affairs, Ethicon,
                  Inc. (2001-2012).

               b. Rick Sedlatschek: VP Quality Assurance and Regulatory Compliance (2012 –
                  present)

       (b) Toxicity and pigment testing:

               a. There is no “Toxicity and Pigment Testing Department.” A non-exhaustive
                  list of persons in the United States with relevant knowledge of the topics as
                  related to pelvic mesh products includes:

                        i. Thomas Barbolt: Distinguished Research Fellow – Toxicologist/
                           Pathologist (2006 – 2008); Senior Research Fellow – Toxicologist/
                           Pathologist (2000-2006); Research Fellow – Toxicologist/ Pathologist
                           (1997 – 2000)


                       ii. Rich Hutchinson: Toxicology Risk Assessor (CV produced; Plaintiffs’
                           Exhibit 542, New Jersey)

       (c) Engineering:

               a. There is no “Engineering Department.” A non-exhaustive list of persons in
                  the United States with relevant knowledge of the topic as related to pelvic
                  mesh products includes:

                        i. Scott Ciarrocca: Associate Director, EWHU R&D (CV produced;
                           Plaintiffs’ Exhibit 612).

                       ii. Paul DeCosta, Associate Director R&D (2006 – 2008); Director R&D,
                           EP (2008 – 2012).


                                                 24
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 26 of 47 PageID #: 6718




                    iii. Jeff Everett: Manager, Quality New Product Development, Lifecycle
                         Management (CV produced; Plaintiffs’ Exhibit 726, New Jersey).

                    iv. Christophe Mauge: Group Director, EWHU R&D (2007 – present).

                     v. Dan Smith: Principal Engineer (2002-2005); Principal Engineer R&D
                        (2005 – 2007); Senior Principal Engineer R&D, Engineering Fellow,
                        EWHU (2007 – present).

                    vi. Rohinton Toddywala: VP R&D, Gynecare (2001 – 2005); Director,
                        Product Development Elctr/Msh (2005); Director & Venture Leader
                        (2006); VP Internal Ventures (2006 – 2008).

                    vii. Cliff Volpe: Associate Director, EWHU R&D (2002 – 2012) (CV
                         produced; Plaintiffs’ Exhibit 1018, New Jersey).

      (d) Strength/Tensile strength testing:

             a. There is no “Strength/ Tensile Strength Testing Department.” A non-
                exhaustive list of persons in the United States with relevant knowledge of the
                topic as related to pelvic mesh products includes:

                       i. Elizabeth Vailhe: Staff Scientist, Ethicon (2008 – present); Senior
                          Scientist, Ethicon (2004 – 2008); Scientist, Ethicon (2000 – 2004).

      (e) Machining:

          There is no “Machining Department.” Further, the term is undefined and sufficiently
   vague so as to make this sub-paragraph unanswerable.

      (f) Porosity (space between mesh pores) testing:


             a. There is no “Porosity Testing Department.” A non-exhaustive list of persons
                in the United States with relevant knowledge of the topic as related to pelvic
                mesh products includes:

                       i. Daniel Burkley:      Principal Scientist, Analytical Characterization
                          Group.

      (g) Epidemiology and outcome studies:

             a. There is no “Epidemiology and Outcome Studies Department.” A non-
                exhaustive list of persons with relevant knowledge of clinical studies related
                to pelvic mesh products includes:

                       i. Jessica Shen: Director, Clinical Development WW (CV produced;
                          Plaintiffs’ Exhibit 2000, New Jersey).


                                               25
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 27 of 47 PageID #: 6719




                   ii. Judi Gauld: Associate Director, Clinical Development (2009-present);
                       Manager, Clinical Research (2005-2009); Senior Product Manager
                       (2001-2005).

     (h) Marketing:

            a. A non-exhaustive list of persons with relevant knowledge of the topic related
               to pelvic mesh products includes:

                      i. Giselle Bonet: (CV produced; Plaintiffs’ Exhibit 402, New Jersey).

                   ii. Lesley Fronio: VP, Worldwide Marketing, Ethicon (2008 - present);
                       Group Director, WW Marketing (2007); Group Director, WW
                       Marketing EP (2006); Group Director, WW Marketing (2005).

                   iii. Lynn Hall: (CV produced; Plaintiffs’ Exhibit 401, New Jersey).

                   iv. Matt Henderson: VP, U.S. Sales & Marketing, Ethicon EWHU (2012
                       – present).

                      v. Price St. Hilaire: Division Sales Manager (2001 – 2005); Product
                         Director (2005 – 2007); WW Director, Marketing (2007); Group
                         Product Director (2007 – 2008).

                   vi. Scott Jones: Product Director, Pelvic Floor Repair (2008 - 2011);
                       Product Director, Incontinence Platform (2011- 2012) (CV produced,
                       New Jersey).

                  vii. Brian Luscombe: Manager, Business Development (1999-2001);
                       Product Director (2001 – 2004).

                  viii. Kevin Mahar: (CV produced; Plaintiffs’ Exhibit 560, New Jersey).

                   ix. Jonathan Meek: (CV produced; Plaintiffs’ Exhibit 310, New Jersey).

     (i) Manufacturing:

     There is no “Manufacturing Department.” See Response to Interrogatory No. 6.

     (j) Sales:

            a. A non-exhaustive list of persons with relevant knowledge of the topic as
               related to pelvic mesh products includes:

                      i. Matthew T. Henderson: VP, U.S. Sales & Marketing, Ethicon EWHU
                         (2012 – present).



                                             26
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 28 of 47 PageID #: 6720




                       ii. Kevin Mahar: (CV produced; Plaintiffs’ Exhibit 560, New Jersey).

       (k) Safety and efficacy:

               a.    See response to Interrogatory No. 6.

       (l) Supply Chain Management:

               a. A non-exhaustive list of persons in the United States with relevant knowledge
                  of the topic includes:

                        i. Caleb Dailey: Manager, Operations Engineer (1999-2002); Program
                           Manager (2002-2004); Director, Strategic Planning Operations (2004);
                           Director Portfolio Management & Planning (2005); Director, Portfolio
                           Management (2006); Director, Project Management (2007 – present).

                       ii. Michael Wolfe: Plant Quality Assurance Manager, Ethicon (2007 –
                           2009); Director Quality Operations, Raw Materials Supply & External
                           Ops, Ethicon (2009 – present).

INTERROGATORY 11:

       If You met or conferred with any Person, other than Johnson & Johnson, Inc. or Ethicon

Inc. employees, to discuss whether there was an association or causal relationship between

Pelvic Mesh Products and any Complications, please:

               (a)      Identify the dates and attendees of each such meeting or communication;

               (b)      Identify what was discussed or presented in connection with or during
                        each meeting or communication;

               (c)      Produce all documents relating to the meeting or communication.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 11:

       Ethicon objects to Interrogatory No. 11 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Ethicon further objects to this Interrogatory to the extent it seeks the

disclosure of information that is protected by the attorney-client privilege and/or work product

immunity. Ethicon objects on the grounds that this interrogatory is not limited to the relevant

time period, and seeks information that is irrelevant.


                                                  27
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 29 of 47 PageID #: 6721




       Subject to and without waiving the foregoing Objections, and consistent with Federal

Rule of Civil Procedure 33(d), and the Protective Order entered by the Court, documents that

may be responsive to this interrogatory to the extent they exist have been produced to Plaintiffs

in the manner in which they were kept in the ordinary course of business. The electronic

production is in searchable format and, as such and consistent with the Federal Rules, Plaintiffs

can locate the particular electronic documents responsive to this interrogatory. Notwithstanding,

set forth are examples of information and documents, though not all of it, which have been

produced to Plaintiffs that may include information responsive to this interrogatory. See

custodial files productions/ depositions/ deposition exhibits for Dr. Piet Hinoul, Dr. David

Robinson, Dr. Martin Weisberg, Dr. Aaron Kirkemo, Dr. Charlotte Owens, Dr. Axel Arnaud, Dr.

Judi Gauld, and Dr. Jessica Shen; see also Response to Interrogatory No. 7; Ethicon’s Responses

to Plaintiffs’ Requests for Production of Documents Nos. 4, 28, 43.

INTERROGATORY 12:

       If during or after the time that you marketed, sold, distributed or produced Pelvic Mesh

Products, You were aware of any Manufacturing Defects or Defects of any kind please identify:

               (a)    The nature and extent of the Defect

               (b)    The day you first became aware of the Manufacturing Defect;

               (c)    The start date when the Defect occurred;

               (d)    The date when the Defect was resolved;

               (e)    The dates of the disclosure to the FDA or other Agencies, if any

               (f)    Whether or not there was a recall as a result of the Defect;

               (g)    The identity of the persons employed by You who determined that such
                      Defects existed;

               (h)    Attach any and all documents relating to any of Your responses to this
                      interrogatory.



                                                28
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 30 of 47 PageID #: 6722




RESPONSE TO INTERROGATORY 12:

        Ethicon objects to Interrogatory No. 12 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Further, Ethicon objects to the interrogatory to the extent it calls for a legal

conclusion by use of the word “Defect.”

        Subject to and without waiving the foregoing Objections, and consistent with Federal

Rule of Civil Procedure 33(d), and the Protective Order entered by the Court, documents that

may be responsive to this interrogatory to the extent they exist have been produced to Plaintiffs

in the manner in which they were kept in the ordinary course of business. The electronic

production is in searchable format and, as such and consistent with the Federal Rules, Plaintiffs

can locate the particular electronic documents responsive to this interrogatory. Notwithstanding,

set forth is an example of information and documents, though not all of it, which have been

produced to Plaintiffs that may include information responsive to this interrogatory. See

Ethicon’s Responses to Requests for Production Nos. 15 and 19; see ETH.MESH.00066921,

ETH.MESH.00330835 - 839, ETH.MESH.00874797; see also custodial productions/

depositions/ deposition exhibits for Catherine Beath, Jennifer Paine, Mark Yale, Dan Lamont,

and Bryan Lisa.

        Subject to the foregoing, regarding specific recalls that occurred, Ethicon further submits

the following response:

            •   In 2000, Ethicon recalled six lots of TVT implicating 5,440 units following

                complaints of a “needle pulloff” during the surgery. Ethicon notified FDA in

                September 2000. Most of the recalled lots had an expiration date of 2005.




                                                  29
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 31 of 47 PageID #: 6723




           •   In January of 2007, Prolift Lot 2990052 was recalled, affecting 40 boxes. The

               units were recalled because, due to a packaging error, some kits were labeled as

               Prolift Total when they were Prolift Anterior.       The impact of the error was

               minimal, as the only known effect was a one-hour delay in a single surgery while

               the proper material could be obtained from another hospital.

INTERROGATORY 13:

       For each year from 1999 to the present, state the total number of employees You had in:

               (a)     the sales and marketing departments

               (b)     the regulatory and safety departments

SUPPLEMENTAL RESPONSE TO INTERROGATORY 13:

       Ethicon objects to Interrogatory No. 13 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Ethicon objects on the grounds that this interrogatory is not reasonably

limited to any relevant time period, and seeks information that is irrelevant. It is not reasonably

limited in scope to employees involved with pelvic mesh products. Ethicon further objects

because “safety” is undefined. Many different departments, groups, and cross-functional teams

have at least some impact on and/or share some responsibility for the safety of pelvic mesh

products. For example, these include, but are not limited to, Medical Affairs, Pre-Clinical,

Clinical Studies, Research & Development, Manufacturing, Quality, Pharmacovigilance,

compliance, and professional education.

       Consistent with the Federal Rules, and the Protective Order entered by the Court,

documents responsive to this interrogatory, to the extent they exist, have been produced to

Plaintiffs in the manner in which they were kept in the ordinary course of business. The

electronic production is in searchable format and, as such and consistent with the Federal Rules,


                                                 30
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 32 of 47 PageID #: 6724




Plaintiffs can locate the particular electronic documents responsive to this interrogatory to the

extent they exist.

INTERROGATORY 14:

       State the name(s), title, address and phone number of each individual who prepared or

assisted in the preparation of these interrogatories.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 14:

       Ethicon objects to this Interrogatory on the basis that it is vague, ambiguous, and

overbroad. Ethicon further objects to this Interrogatory on the ground that it seeks information

that is protected by the attorney-client privilege and/or work product immunity. Ethicon further

objects to this Interrogatory to the extent it seeks the disclosure of information that is protected

by the attorney-client privilege and/or work product immunity. Subject to and without waiving

the foregoing Objections, Ethicon states that these responses were prepared by counsel for

Ethicon based upon pleadings, deposition transcripts, and documents obtained in discovery or

provided by Ethicon employees. Counsel for Ethicon has in addition consulted with Dr. Judi

Gauld and Catherine Beath regarding the responses to these interrogatories.

INTERROGATORY 15:

       When did You acquire information that provided evidence of a reasonable association

between Pelvic Mesh Products and any Complications.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 15:

       Ethicon objects to Interrogatory No. 15 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Consistent with the Federal Rules, and the Protective Order entered by the

Court, documents responsive to this interrogatory, to the extent they exist, have been produced to




                                                  31
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 33 of 47 PageID #: 6725




Plaintiffs in the manner in which they were kept in the ordinary course of business. The

electronic production is in searchable format and, as such and consistent with the Federal Rules,

Plaintiffs can locate the particular electronic documents responsive to this interrogatory. Further,

any such evidence if it exists would be equally available to Plaintiffs in the form of data from

published medical literature regarding pelvic mesh products. See Custodial Productions/

depositions of Dr. Piet Hinoul, Dr. David Robinson, Dr. Charlotte Owens, Dr. Aaron Kirkemo,

Dr. Judi Gauld, Dr. Jessica Shen; see also Responses to Interrogatories 3, 4, and 5.

INTERROGATORY 16:

       When did You acquire information that provided evidence of a causal association

between Pelvic Mesh Products and any Complications.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 16:

       Ethicon objects to Interrogatory No. 16 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Ethicon further objects to the interrogatory because, as phrased, it assumes a

“causal association” exists. Subject to and without waiving the foregoing Objections, Ethicon

states that any such evidence if it exists would be equally available to Plaintiffs in the form of

data from published studies regarding the Pelvic Mesh Products. Ethicon also refers to its

Response to Interrogatory 15.

INTERROGATORY 17:

       Please identify each electronic database (including but not limited to the name of the

database, date ranges, size, data map/schema operating system and interface application) utilized

by you concerning:

               (a)     Adverse event reports or medical device reports;

               (b)     Sales and sales training;


                                                   32
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 34 of 47 PageID #: 6726




                 (c)   Marketing;

                 (d)   Regulatory compliance;

                 (e)   Key opinion leaders, preceptors, investigators, members of your speakers
                       bureau and product champions;

                 (f)   Communications with physicians or other healthcare providers;

                 (g)   Studies;

                 (h)   Design Failure Mode and Effects Analyses;

                 (i)   Risk assessment or analysis;

                 (j)   Design changes;

                 (k)   Record retention;

                 (l)   Complaints or reports of injuries; and

                 (m)   Trending of adverse events.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 17:

       Ethicon objects to Interrogatory No. 17 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Ethicon further objects to this Interrogatory to the extent it seeks information

that is confidential, proprietary business information and/or trade secrets. Ethicon objects on the

grounds that this interrogatory is not limited to the relevant time period, and seeks information

that is irrelevant. Without waiving these objections, Ethicon states as follows:

       The relevant program, the type of application and the responsible department of Ethicon

is as follows:

                 (a)   Adverse event reports or medical device reports:

                       CHATS (Remetrex) Database 2; Database; Quality Systems

                 (b)   Sales and sales training:




                                                   33
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 35 of 47 PageID #: 6727




                 2009 Ethicon Franchise Strat Plan SharePoint 17; Sharepoint; Strategic
                 Marketing
                 Clinical Expertise.com; Website; Clinical Education; Professional
                 Education
                 Copy Review Paper Files Box 16; Paper File; Marketing
                 eClinical Compendium for Sales Rep; EDR; Marketing
                 EVIA Reporting; Database; Sales Marketing
                 EWH&U Sales Training eRoom20; eRoom; Sales
                 EWHU Sales Northeast Region; SharePoint; Sales
                 Finance EWH&U SharePoint; Sharepoint; Finance
                 Finance/GPD; GroupShare; Finance
                 Gateway Commerce System Database 7; Database; Sales
                 Goldmine; Database; Sales
                 HPIS-Product Data; Database; Unknown
                 Optimizer; Database; Sales
                 Sales & Marketing/Gynecare GS8; GroupShare; Marketing
                 Sales & Mktg/Groups/Common/Women’s Health Urology GS9;
                 GroupShare; Sales Training
                 Sales & Marketing/lynnhall/TVT; GroupShare; Sales Training
                 Strategic Plan SharePoint; SharePoint; Finance
                 Strategic Planning; Database; Unknown
                 Sales Inquiry Tool; Database; Sales
                 Sales Learning & Development Team Site SharePoint 23; SharePoint;
                 Sales Training
                 Sales Learning & Development Web Portal Website 13; Website; Sales
                 Learning & Dev.

           (c)   Marketing:

                 Austrian Gynecare website; Website; Marketing
                 Beat Prolapse and SUI.com; Website; Marketing
                 Beat Prolapse.com; Website; Marketing
                 Beat SUI.com; Website; Marketing
                 Belgian Gynecare website; Website; Marketing
                 Copy Review Paper Files Box 16; Paper File; Marketing
                 D’Art Launch eRoom 13; eRoom; Marketing
                 eCatalog; Website; Sales
                 EES Latin American/EES Women’s Health; SharePoint; Marketing
                 EMEA SharePoint; SharePoint; EMEA Marketing
                 Ethicon Women’s Health & Urology eRoom (EU); eRoom; Marketing
                 Ethicon.com; Website; Marketing
                 Ethicon360 EMEA; Website; Marketing
                 Ethicon360.com; Website; Marketing
                 EWH&U EMEA Marketing; eRoom; Medical Affairs
                 EWHU Marketing SharePoint; SharePoint; Marketing
                 EWHU NPD Project SharePoint 16; SharePoint; R&D



                                        34
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 36 of 47 PageID #: 6728




                 EWHU SharePoint 5; SharePoint; Marketing
                 French Gynecare Website; Website; Marketing
                 German Gynecare website; Website; Marketing
                 GGM/GGM Blue (https://jnjblue.schawk.com/jnjblue/spmvc/login);
                 Database; Marketing
                 Gynecare Incontinence & Pelvic Floor Repair eRoom 4; eRoom;
                 Marketing
                 Gynecare Market Research Team eRoom 16; eRoom; Marketing
                 Gynecare.com Website 1; Website; Marketing
                 Literature Depot Website 10; Website; Sales Marketing
                 Marketing Paper Files box 13; Paper File; Marketing
                 My Preceptor.com website 8; Website; Professional Education
                 Netherland Gynecare Website; Website; Marketing
                 Pelvic Floor Repair Shared Documents SharePoint 1; SharePoint;
                 Marketing
                 Pelvic Health Solutions.com Website 2; Website; Marketing
                 Project Tomorrow SharePoint; SharePoint; Marketing
                 Sales & Marketing/EWH&U/2006 Conventions GS; GroupShare;
                 Marketing
                 Sales & Marketing/Groups GS 14; GroupShare; Sales Learning & Dev.
                 Sales & Marketing/Linda Linton GS; GroupShare; Marketing
                 South African Pelvic Health Solutions Site; Website; Marketing
                 Strategic Marketing eRoom 15; eRoom; Marketing
                 Swiss Gynecare Website; Website; Marketing
                 Thunder eRoom 21; eRoom; Medical Affairs
                 UK Ethicon Products Website; Website; Marketing
                 UK EWHU Website; Website; Marketing
                 UK Womens Health Solutions; Website; Marketing
                 Whats Happening Down There.com Website 6; Website; Marketing
                 WW Marketing eRoom 12; eRoom; Marketing
                 WW Marketing SharePoint 29; SharePoint; Sales Training & Dev.
                 www.ethiconbiosurgerycatalog.com; Website; Unknown

           (d)   Regulatory compliance:

                 Compliance Wire; Database; QA
                 ECCS Engineering Change Control System (Matrix One)/DMS EDR 4;
                 EDR; Regulatory R&D
                 EU Health Care Compliance; GroupShare; MD&D Regional Offices
                 EMEA
                 EWHU Regulatory Sharepoint 25; Sharepoint; Regulatory
                 GGM LCA Archive Folder; GroupShare; WW Product Labeling
                 Global Audit Management System (GAMS); Database; QA
                 HCC Life; Database; MD&D Regional Offices EMEA
                 International Registration Requests Tool; Database; Regulatory Affairs,
                 MD&D



                                          35
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 37 of 47 PageID #: 6729




                 International Regulatory Share Point 20; SharePoint; Regulatory
                 Labeling Control System (Agile) Database 1; Database; Regulatory
                 Manufacturing
                 Regulatory Affairs; GroupShare; Regulatory
                 Regulatory Affairs eRoom 2; eRoom; Regulatory
                 Regulatory Affairs Scanned Paper Files EDR 5; EDR; Regulatory
                 Regulatory Affairs/REGULATORY AFFAIRS/Somerville/Litigation
                 Hold GS7; GroupShare; Regulatory
                 Regulatory Affairs/REGULATORY AFFAIRS/Somerville/RA
                 STRATEGIES DATABASE GS 6; GroupShare; Regulatory
                 Regulatory Affairs/REGULATORY AFFAIRS/Somerville/RA
                 SUBMISSIONS DATABASE-SUBMITTED TO FDA/EWH&U GS 5;
                 GroupShare; Regulatory
                 Scanned Product Labeling Documents; GroupShare; WW Product
                 Labeling
                 Thunderbird Artwork System; EDR; R&D

           (e)   Key opinion leaders, preceptors, investigators, members of your speakers
                 bureau and product champions:

                 Accurate; Database; Professional Education
                 EWH&U Professional Education eRoom 1; Professional Education
                 Global Professional Education Portal 15; Website; Professional Education
                 My Preceptor.com Website; Website; Professional Education
                 Prof Ed/EWHU Sharepoint 36; SharePoint; Professional Education
                 Professional Education on Shared Drive GS 4; GroupShare; Professional
                 Education
                 Professional Education Registration System, Website 4; Website;
                 Professional Education
                 Professional Education Speaker Contracts; Paper File; Professional
                 Education
                 WW Prof Ed eRoom 26; eRoom; Professional Education
                 WW Prof ED SharePoint 8; SharePoint; Professional Education
                 WW Professional Education TOOLBOX SharePoint9; SharePoint;
                 Professional Education

           (f)   Communications with physicians or other healthcare providers:

                 Clinical Expertise.com; Website; Professional Education
                 ETH Medical Affairs SharePoint 15; SharePoint; Medical Affairs
                 Exact Target; Database; Marketing
                 Medical Information Requests System; SharePoint; Medical Affairs

           (g)   Studies:




                                         36
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 38 of 47 PageID #: 6730




                 Clinical Development (EBM) Team Site SharePoint 14; SharePoint;
                 Clinical Development
                 Clinical Development/Ailie Smith; GroupShare; Clinical Development
                 CPC eRoom 29; eRoom; Preclinical
                 ETH Medical Affairs SharePoint 15; SharePoint; Medical Affairs
                 EU Clinical Research Data Entry; GroupShare; MD&D
                 GLP Archive; Paper File; Preclinical
                 GMBH R&D External Drive; Hard Drive; R&D
                 GMBH R&D Paper File; Paper File; Preclinical
                 Hutchinson/Biocompatability Strategies; GroupShare; Preclinical
                 IIS Review Committees SharePoint 13; SharePoint; Medical Affairs
                 Oracle Database 4; Database; Clinical Development
                 Pre-Clinical Study Management System (TOPAZ); Database; Clinical
                 Development
                 Product Performance Evaluation SharePoint 26; SharePoint; Performance
                 Evaluation
                 PSE/CPC Central File Paper Paper 6; Paper File; Preclinical
                 Trial Master File Box 20, 21, 22, 23, 24, 25, 26, 27; Paper File; Clinical
                 Development
                 Trial Master File; Microfilm and Scanned Paper EDR3; EDR; Clinical
                 Development

           (h)   Design Failure Mode and Effects Analyses:

                 Adaptiv; EDR; QA
                 CAPA SharePoint 22; SharePoint; Quality Systems
                 Design History Files; eDHF EDR 1; EDR; R&D
                 DHF Scanned Paper Files EDR 2; EDR; R&D
                 ECCS Engineering Change Control System (Matrix One)/DMS EDR 4;
                 EDR; Regulatory R&D
                 EVITA; EDR; R&D; QA
                 Product Lifecycle Management System (eDHF, NCR, CAPA); EDR;
                 Quality Systems

           (i)   Risk assessment or analysis:

                 Adaptive; EDR; QA
                 CAPA SharePoint 22; Quality Systems
                 Corrective and Preventive Action; Database; Quality Systems
                 EWH&U Management Project Updates eRoom 8; eRoom; R&D
                 PQI Paper Files Box 15; Paper File; Quality Systems
                 Product Lifecycle Management System (eDHF, NCR, CAPA); EDR;
                 Quality Systems
                 Quid 1; Database; Unknown
                 Risk Management Legal Review Paper Files; Paper File; Legal




                                         37
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 39 of 47 PageID #: 6731




              (j)    Design changes:

                     Adaptive; EDR; QA
                     Design History Files; eDHF EDR 1; EDR; R&D
                     DHF Scanned Paper Files EDR 2; EDR; R&D
                     EVITA; EDR; R&D; QA
                     EWH&U Management Project Updates eRoom 8; eRoom; R&D
                     EWHU Incontinence SharePoint 19; SharePoint; R&D
                     EWHU Pelvic Floor SharePoint 7; SharePoint; R&D
                     R&D/Gynecare R&D/D’Art GS 1; GroupShare; R&D
                     RD Continence Health Portfolio Management Team SharePoint 10;
                     SharePoint; R&D
                     RD ESHU TVT Retropubic Refresh- TVT Exact SharePoint 11;
                     SharePoint; R&D
                     RDCAD/D’Art GS2; GroupShare; R&D
                     RDCAD/DHF0000253 Prolift expiry update GS 3; GroupShare; R&D
                     RDCAD/TVT-SECUR GS 10; GroupShare; R&D
                     RDEWHU SharePoint 6; SharePoint; R&D
                     Thunder eRoom 21; eRoom; Medical Affairs
                     Thunder SharePoint 12 (tpro); SharePoint; R&D

              (k)    Record retention:

                     Adaptiv; EDR; QA
                     ECCS Engineering Change Control System (Matrix One)/DMS EDR4;
                     EDR; Regulatory; R&D

              (l)    Complaints or reports of injuries:

                     CHATS (Remetrex) Database 2; Database; Quality Systems
                     Ethicon Customer Quality Information eRoom 5; Quality Systems
                     Post Market Surveillance Sharepoint 3; SharePoint; Quality Systems
                     PQI Paper Files Box 15; Paper File; Quality Systems
                     QA Complaint Investigation Reports; GroupShare; WW Customer Quality
                     QA SharePoint 4; SharePoint; Quality Systems
                     World Wide Quality eRoom 6; eRoom; Quality Systems

              (m)    Trending of adverse events:

                     Enterprise Data Warehouse; Database
                     QUID 1; Database; Quality Systems
                     QUID 2 Database 3; Database; Quality Systems

       Ethicon further directs Plaintiffs to the December 7, 2011 Deposition of James Mittenthal

in the coordinated New Jersey proceeding.



                                              38
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 40 of 47 PageID #: 6732




INTERROGATORY 18:

       For each of the Pelvic Mesh Products, please identify all testing you conducted,

sponsored or funded concerning the:

               (a)     Measurement or the potential for and amount of in vivo (human or animal)
                       shrinkage;

               (b)     Measurement or the potential for and amount of in vivo (human or animal)
                       creep;

               (c)     Measurement or the potential for and amount of in vivo (human or animal)
                       physical or mechanical changes;

               (d)     Measurement or the potential for and amount of physical or mechanical
                       forces in the human female pelvic floor;

               (e)     Measurement or the potential for and amount of anticipated stresses in the
                       human female pelvis;

               (f)     Measurement or the potential for and amount of in vivo (human and
                       animal) movement due to the body’s reaction to the mesh;

               (g)     Determination of a physician or other healthcare provider’s proper course
                       of action in the event of any failure or malfunction in vivo (human or
                       animal).

               (h)     Human tissue elastic properties, including such properties in the human
                       female pelvis; and

               (i)     Human or animal pelvis.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 18:

       Ethicon objects to Interrogatory No. 18 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Ethicon objects on the grounds that this interrogatory is not limited to the

relevant time period, and seeks information that is irrelevant.

       Subject to and without waiving the foregoing Objections, and consistent with Federal

Rule of Civil Procedure 33(d), and the Protective Order entered by the Court, documents that

may be responsive to this interrogatory to the extent they exist have been produced to Plaintiffs


                                                 39
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 41 of 47 PageID #: 6733




in the manner in which they were kept in the ordinary course of business. The electronic

production is in searchable format and, as such and consistent with the Federal Rules, Plaintiffs

can locate the particular electronic documents responsive to this interrogatory. Notwithstanding,

set forth are some examples of documents, though not all of the documents, which have been

produced to Plaintiffs that may fall within this interrogatory. See, e.g. Custodial Productions for

Dr. David Robinson; Dr. Piet Hinoul; Dr. Aaron Kirkemo; Dr. Judi Gauld; Dr. Jessica Shen; Dr.

Martin Weisberg; and Dr. Charlotte Owens (deposition/ exhibits), Scott Ciarrocca, Maggie

D’Aversa, Jeff Everett, Cliff Volpe, Vincenza Zaddem. In addition, Defendants have produced

central source files related to the pre-clinical and clinical development of relevant pelvic mesh

devices and information responsive to the interrogatory may be found therein. See Prods. 22, 26,

31, 32, 33, 37, 43, 54, 57; see also Ethicon’s Response to Request for Production No. 15.

INTERROGATORY 19:

       Please state whether any of your pelvic mesh products are not suitable for any particular

patient populations. For each such patient population, please state:

               (a)     The specific patient population for which your pelvic mesh product is not
                       suitable, and the reasons why these products are not suitable for the
                       particular patient population;

               (b)     When you became aware that such patient population was not an
                       appropriate candidate for your pelvic mesh product(s);

               (c)     The date and manner in which you conveyed this information to
                       physicians and/or patients;

               (d)     What actions you took to ensure that patients in the particular patient
                       populations did not receive the pelvic mesh product.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 19:

       Ethicon objects to Interrogatory No. 19 because, as worded, it is ambiguous, overly

broad, unduly burdensome



                                                 40
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 42 of 47 PageID #: 6734




       Subject to and without waiving the foregoing Objections, and consistent with Federal

Rule of Civil Procedure 33(d), and the Protective Order entered by the Court, documents that

may be responsive to this interrogatory to the extent they exist have been produced to Plaintiffs

in the manner in which they were kept in the ordinary course of business. The electronic

production is in searchable format and, as such and consistent with the Federal Rules, Plaintiffs

can locate the particular electronic documents responsive to this interrogatory. Additionally, the

Contraindications contained in the IFUs for the relevant pelvic mesh products advise physicians

of the persons for whom the products are not suitable. Any further patient selection criteria is

patient-specific and is a determination best made by the particular patient’s physician in

consultation with the patient.

INTERROGATORY 20:

       Please identify each individual involved in the decision to cease market withdrawal of

any of your pelvic mesh products, and the precise reasons that you withdrew each such product

from the market.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 20:

       Ethicon objects to Interrogatory No. 20 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. In addition, Ethicon objects to the use of the word “withdrawal,” as it implies

a recall of the subject products, which has not occurred. Ethicon objects to the interrogatory as

overbroad to the extent it asks for the identity of “each individual” “involved” in the decision.

Ethicon further objects to this Interrogatory to the extent it seeks the disclosure of information

that is protected by the attorney-client privilege and/or work product immunity.




                                                 41
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 43 of 47 PageID #: 6735




       Subject to and without waiving the foregoing Objections, persons involved in the

decision to discontinue commercialization in the United States include Charles E. Austin

(Company Group Chairman, General Surgery), Timothy Schmidt (President, U.S. General

Surgery), and Catherine Beath (Vice President Regulatory Affairs, Global Surgery Group). As

to the reasons for the discontinuation, Ethicon states that it believes that the products are safe and

effective options for women. Ethicon arrived at the decision to stop commercialization of the

products after considering the commercial viability of the products in the United States in light

of the complexities of the clinical study requirements, the significant adverse publicity, and the

litigation environment. The size and the competitiveness of the market place and the availability

of other treatment options for women were also factors in the decision

       Further, consistent with Federal Rule of Civil Procedure 33(d), and the Protective Order

entered by the Court, documents that may be responsive to this interrogatory to the extent they

exist have been produced to Plaintiffs in the manner in which they were kept in the ordinary

course of business. The electronic production is in searchable format and, as such and consistent

with the Federal Rules, Plaintiffs can locate the particular electronic documents responsive to

this interrogatory. Notwithstanding, set forth are some examples of documents, though not all of

the documents, which have been produced to Plaintiffs that may contain information responsive

to this interrogatory. See Prod. 53 (ETH.MESH.04005088 – ETH.MESH.04005096); Prod. 61

(ETH.MESH. 04474273 – 04476322); Prod. 64 (ETH.MESH.04542554 –

ETH.MESH.04568735); Prod. 65 (ETH.MESH. 04568736 – ETH.MESH.04666998); Prod. 66

(ETH.MESH.04666999 - ETH.MESH.04680216); Prod. 67 (ETH.MESH.04680217 –

ETH.MESH.04680328).

INTERROGATORY 21:




                                                 42
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 44 of 47 PageID #: 6736




       For each of your pelvic mesh products, provide the specific dates of use for each of the

following items:

               (a)    Instructions for Use

               (b)    Directions for Use

               (c)    Patient Brochures

               (d)    Sales training materials

               (e)    Physician training material

               (f)    Direct to Consumer Advertising

               (g)    Sales aids, physician leave behinds and physician marketing materials.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 21:

       Ethicon objects to Interrogatory No. 21 because, as worded, it is ambiguous, overly

broad, and unduly burdensome. Subject to and without waiving the foregoing Objections, and

consistent with the Federal Rules, and the Protective Order entered by the Court, documents that

may be responsive to this interrogatory to the extent they exist have been produced to Plaintiffs

in the manner in which they were kept in the ordinary course of business. The electronic

production is in searchable format and, as such and consistent with the Federal Rules, Plaintiffs

can locate the particular electronic documents responsive to this interrogatory. See Ethicon’s

Response to Interrogatory 2.

INTERROGATORY 22:

       Please state when YOU first became aware of the criminal investigation of Ethicon, Inc.

related to YOUR Pelvic Mesh Products and/or Hernia Mesh Products and identify any and all

employees who were involved with that or any other criminal investigation related to YOUR

conduct in the area of Pelvic Mesh Products and/or Hernia Mesh Products.

SUPPLEMENTAL RESPONSE TO INTERROGATORY 22:


                                                 43
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 45 of 47 PageID #: 6737




       Ethicon objects to Interrogatory No. 22 because, as worded, it is ambiguous, overly

broad, unduly burdensome and seeks information not reasonably calculated to lead to evidence

admissible at trial. Ethicon objects to the production of information regarding hernia mesh as

irrelevant to this litigation involving pelvic mesh. Ethicon further objects to this Interrogatory to

the extent it seeks the disclosure of information that is protected by the attorney-client privilege

and/or work product immunity. Ethicon also objects to this Interrogatory to the extent it calls for

confidential patient information protected from disclosure under the applicable federal

regulations.

       Subject to and without waiving the foregoing Objections, the only information of which

Ethicon is aware regarding any criminal investigation is that identified in the deposition of

Daniel Minsker taken on July 13, 2012, or in oblique references in letters to Ethicon by persons

identified in the Minsker deposition.

                       This the 8th day of April, 2013.

                                               Respectfully submitted,

                                               /s/Christy D. Jones_____            _______
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                                                 44
Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 46 of 47 PageID #: 6738




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                                   ETHICON, INC.




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Case 2:12-md-02327 Document 585-5 Filed 05/09/13 Page 47 of 47 PageID #: 6739




                                 CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing has been served on counsel for Plaintiffs via

electronic mail this the 8th day of April, 2013.



                                              /s/ Kari L. Sutherland
ButlerSnow 15805671v1




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